Case 1:05-cv-01034-.]DT-STA Document 6 Filed 05/10/05 Page 1 of 2 Page|D 12

 

 

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JUDGMENT lN A CIVIL CASE OU,QI/C}
JON STEPHEN BALLARD,
v.
TON|MY Rll_EY, ET AL., CASE NUN|BERZ 1205-1034-T/An

Decision by Court. This action came to consideration before the Court. The issues
have been considered and a decision has been rendered.

|T |S ORDERED AND ADJUDGED that in compliance with the order entered in

the above-styled matter on 5/6/2005, this case is hereby D|SM|SSED without prejudice
and it is furthered CERT|F|ED that any appeal in this matter is not taken in good faith.

APPROVED:

Z>.M

J S D. TODD

 

 

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This document entered on the docket sheet in compliance

with Ru|e 58 andror'lQ(a) FRCP on S , n l 0 S.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 1:05-CV-01034 Was distributed by faX, mail, or direct printing on
May ]1, 2005 to the parties listed.

 

J on Stephen Ballard

c/c Rev. Donald K. Ballard, LTG. USN

683 Wheatley Cove
Collierville, TN 38017

Honorable J ames Tcdd
US DISTRICT COURT

